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 5 Attorney for Defendant
   ELFEGO ALCALA
 6

 7                            IN THE UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                              CASE NO. 1:18-CR-00182-LJO-SKO
10                               Plaintiff,                 STIPULATION TO MODIFY
                                                            CONDITIONS OF PRETRIAL
11   v.                                                     RELEASE TO PERMIT SURRENDER
                                                            OF PASSSPORT FOR ELFEGO
12   ELFEGO ALCALA,                                         ALCALA; AND ORDER
13                               Defendant.
14

15          IT IS HEREBY STIPULATED by and between Defendant ELFEGO ALCALA,
16 through his counsel of record, Nicholas F. Reyes, and the UNITED STATES OF

17 AMERICA, by and through its counsel of record, Laura D. Withers, Assistant United States

18 Attorney for the Eastern District of California, that Mr. Alcala’s conditions of Pretrial

19 Release be modified to include the following:

20          1.     You must surrender your Mexican Passport to the Clerk, U.S. District Court,

21          and you must not apply or obtain a passport or any other travel documents during the
            pendency of this case.
22
            2.     All previously imposed conditions of release not in conflict with this order
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            remain in full force and effect.
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            The basis for this request is as follows:
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            The parties were recently advised that Mr. Alcala obtained a Mexican Passport at the
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     direction of his immigration attorney in order to complete the process of obtaining a U-Visa.
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     At the direction of Pretrial Services, Mr. Alcala has relinquished her passport to defense
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     counsel. In order for counsel to surrender the passports to the U.S. District Court it is
 1
     necessary to modify his conditions as requested.
 2

 3 IT IS SO STIPULATED
                                                        Respectfully submitted,
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 5 Dated: 07/13/20                                      /s/ Nicholas F. Reyes
                                                        NICHOLAS F. REYES
 6                                                      Attorney for Defendant

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 9
     IT IS SO STIPULATED
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11
     Dated: 07/13/20                                    /s/ Laura D. Withers
12                                                      LAURA D. WITHERS
                                                        Assistant U.S. Attorney
13

14
                                                ORDER
15
              Good cause appearing, the conditions of release for defendant ELFEGO ALCALA
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     shall be modified to permit the surrender of his Mexican Passport to the U.S. District Court
17
     clerk.
18 IT IS SO ORDERED.

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        Dated:     July 13, 2020                           /s/ Barbara A. McAuliffe              _
20                                                  UNITED STATES MAGISTRATE JUDGE
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